          Case: 1:15-cr-00320-CAB Doc #: 30 Filed: 04/07/16 1 of 2. PageID #: 150




                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHO
                                        EASTERN DIVISION


UNITED STATES OF AMERICA,                      )       CASE NO. 1:15cr320-2
                                               )
                Plaintiff,                     )       JUDGE CHRISTPHER A. BOYKO
                                               )
       vs.                                     )       REPORT AND RECOMMENDATION
                                               )       OF MAGISTRATE JUDGE
TAHESIA JOHNSON                                )
                                               )
                Defendant.                     )       MAGISTRATE JUDGE
                                               )       THOMAS M. PARKER

       Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Thomas M. Parker for purposes for receiving, on consent of the parties, the defendant’s offer of a

plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record of

the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered, the following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by the defendant.

       1. On April 7, 2016, the defendant, accompanied by counsel, proffered a plea of guilty to counts

             1-4 of the Indictment.

       2. Prior to such proffer, the defendant was examined as to her competency, advised

             of the charge and consequences of conviction, informed that the Federal Sentencing

             Guidelines are advisory and the Court must consider them but the Court may impose any

             sentence authorized by law, notified of her rights, advised that she was waiving all her rights
         Case: 1:15-cr-00320-CAB Doc #: 30 Filed: 04/07/16 2 of 2. PageID #: 151




           except the right to counsel, and, if such were the case, her right to appeal, and otherwise

           provided with the information prescribed in Fed. R. Crim. P. 11.

       3. The parties and counsel informed the court about any plea agreement between the

           parties, the undersigned was advised that, aside from such agreement as described or

           submitted to the court, no other commitments or promises have been made by any party, and

           no other agreements, written or unwritten, have been made between the parties.

       4. The undersigned questioned the defendant under oath about the knowing,

           intelligent, and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

           offered knowingly, intelligently, and voluntarily.

       5. The parties provided the undersigned with sufficient information about the charged

           offense(s) and the defendant’s conduct to establish a factual basis for the plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                              s/Thomas M. Parker
                                              Thomas M. Parker
                                              United States Magistrate Judge

Date: April 7, 2016



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time
WAIVES the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters, 638
F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
